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 5   Attorneys for Defendant,
     JENNIFER ANN CRISP
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 8                                UNITED STATES DISTRICT COURT
 9                         EASTERN DISTRICT OF CALIFORNIA-FRESNO
10

11   UNITED STATES OF AMERICA,                         )   Case Number 1:11-CR-00026-LJO
                                                       )
12                           Plaintiff,                )
                                                       )   WAIVER OF APPEARANCE AND
13   v.                                                )   ORDER THEREON
                                                       )
14   JENNIFER ANN CRISP, et al                         )
                                                       )   Date:      October 1, 2012
15                           Defendant.                )   Time:      8:30 a.m.
                                                       )   Courtroom: 4
16                                                     )   Judge:     Honorable, Lawrence J. O’Neill
17                   Defendant, JENNIFER ANN CRISP, hereby waives her right to be present in
18   person in open court upon the hearing presently set for October 1, 2012 at 8:00 a.m. in
19   Courtroom Four of the above-entitled court. Defendant hereby requests the court to proceed in
20   her absence and agrees that her interests will be deemed represented at said hearing by the
21   presence of her attorney, GARY HUSS. Defendant further agrees to be present in person in
22   court at all future hearing dates to be set by the court including the date set for jury trial.
23

24   DATED: August 24 , 2012.                                          /s/ Jennifer Ann Crisp
                                                                     JENNIFER ANN CRISP
25

26   DATED: August 27 , 2012.                                         /s/ Gary Huss
                                                                     GARY HUSS, Attorney for
27                                                                   Defendant, JENNIFER ANN CRISP
28   ///
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 1                                              ORDER

 2                 IT IS HEREBY ORDERED that Defendant JENNIFER ANN CRISP is hereby

 3   excused from appearing at the court hearing scheduled for October 1, 2012 at 8:00 a.m.

 4                 IT IS SO ORDERED.

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 6
     Dated: August 30, 2012                             /s/ Lawrence J. O’Neill
 7                                                      HONORABLE LAWRENCE J. O’NEILL,
                                                        United States District Judge
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